          Case 2:20-cv-00619-AKK Document 60 Filed 06/16/20 Page 1 of 2                                 FILED
                                                                                               2020 Jun-16 AM 11:57
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION

PEOPLE FIRST OF ALABAMA, et al.              )
                                             )
        Plaintiffs,                          )
                                             )
v.                                           )        CASE NO. 2:20-cv-00619-AKK
                                             )
JOHN MERRILL,                                )
Secretary of State, et al.,                  )
                                             )
        Defendants.                          )

     NOTICE OF APPEAL OF PRELIMINARY INJUNCTION (Docs. 58 and 59) OF
          DEFENDANT SECRETARY OF STATE JOHN MERRILL AND
                       THE STATE OF ALABAMA

        Notice is hereby given that John Merrill, sued in his official capacity as Alabama

Secretary of State, and the State of Alabama, Defendants in the above named case, hereby appeal

to the United States Court of Appeals for the Eleventh Circuit from a Preliminary Injunction

entered in this action on June 15, 2020 (docs. 58-59).

                                                 Respectfully submitted,

                                                 Steve Marshall,
                                                  Attorney General

                                                 /s James W. Davis
                                                 James W. Davis (ASB-4063-I58J)
                                                 Winfield J. Sinclair (ASB-1750-S81W)
                                                 Misty S. Fairbanks Messick (ASB-1813-T71F)
                                                 Jeremy S. Weber (ASB-3600-X42G)
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          Case 2:20-cv-00619-AKK Document 60 Filed 06/16/20 Page 2 of 2



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                                                Counsel for Defendant Secretary of State
                                                John Merrill and the State of Alabama




                                 CERTIFICATE OF SERVICE
        I hereby certify that on June 16, 2020, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, which will send notification of such filing to all counsel
of record.
                                                  s/ Jeremy S. Weber
                                                  Counsel for Defendant Secretary of State
                                                  John Merrill and the State of Alabama




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